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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                         :
UNITED STATES OF AMERICA
                                         :

     v.                                  :   Criminal No. DKC 12-624

                                         :
SEAN VITHIDKUL
                                         :

                                         :

                              MEMORANDUM OPINION

     Presently pending and ready for resolution in this criminal

forfeiture    proceeding      is   the    motion      to    strike     or,   in     the

alternative, to permit discovery filed by the Government.                          (ECF

No. 272).     For the following reasons, the Government’s motion

will be granted in part.

I.   Background

     A federal grand jury in the United States District Court

for the District of Maryland returned an indictment charging

multiple    individuals,      including      Sean    Vithidkul       (“Vithidkul”),

with conspiracy to distribute a controlled substance and money

laundering conspiracy.         (ECF No. 1).         On December 11, 2012, the

Government obtained a search and seizure warrant for 307 Irwin

Street, Silver Spring, Maryland, which is Vithidkul’s residence.

The Government states that “[p]resent during the execution of

the search warrant were Sean Vithidkul, Derek Vithidkul, Chooi
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Wan Kong, and Amanda Vithidkul.”                     (ECF No. 272, at 1).                The

search      led,    inter     alia,    to    the   seizure      of   $57,275    in      U.S.

currency.

       On May 30, 2013, Vithidkul pled guilty to one count of

conspiracy to distribute and possess with intent to distribute

100 kilograms or more of marijuana in violation of 21 U.S.C. §

846, and one count of money laundering conspiracy in violation

of   18     U.S.C.    §   1956(h).          (ECF   No.     143).      The    undersigned

sentenced Vithidkul to sixty-six (66) months in prison on August

12, 2013.          (ECF No. 216).           On August 7, 2013, the Government

filed a motion for forfeiture pursuant to 21 U.S.C. § 853 and 18

U.S.C. § 982(a)(1), which was entered on August 12, 2013.                               (ECF

Nos. 215 & 216-1).              The forfeiture order covers the following

items: (1) $57,275; (2) Maxtor Hard Drive; (3) Western Digital

Hard Drive; (4) T-Mobile cellular phone; (5) Samsung cell phone;

(6) Kingston thumb drive; (7) Nokia cellular phone; (8) Coolpix

digital camera; (9) compact disks, DVDs, diskettes; (10) Ipod;

(11)      Apple      Iphone     A1332;      (12)     Apple      Iphone      A1241;      (13)

Blackberry pearl cellular phone; (14) Blackberry 9700; and (15)

Dell Inspiron E1405 Laptop.              (ECF No. 215, at 2).

       On    January      24,    2014,       the   court       received      third-party

petitions from Chooi Wan Kong (ECF No. 265), Amanda Vithidkul

(ECF No. 267), and Derek Vithidkul (ECF No. 268), asserting



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interest          in   some     of      the     seized       currency       and     assets.1

Specifically,          Chooi    Wan     Kong,       Vithidkul’s     mother,       submits   a

letter stating a claim to $4,000.                       (ECF No. 264).            She avers

that this money “was obtained through previous employment and

not by ill-gotten means.”                 (Id.).           To support her claim, she

submits       ten      (10)     pages     of    bank       statements       showing       bank

withdrawals in various amounts.                      Amanda Vithidkul, Vithidkul’s

sister,      submits     a     claim    for    $9,400      of   currency     and    a   Nikon

digital      camera.          Amanda    Vithidkul       similarly      states      that   the

money       and    camera     were     obtained      through     previous      employment.

(ECF No. 266).          She also submits seventy-two (72) pages of bank

statements          reflecting       deposits        and     withdrawals      in    various

amounts from Capital One Bank.                  (ECF No. 266-1).            She submits no

documentation to show her interest in the Nikon digital camera.

Finally, Derek Vithidkul submits a claim for $7,000 of currency,

a Samsung Galaxy cell phone, and a Dell inspiron laptop.                                  (ECF

No. 268).          He also avers that these items were obtained “through

previous          employment    and     not     by    ill-gotten       means.”          (Id.).

Although Derek Vithidkul submits a receipt for the purchase of

the Samsung Galaxy cellular phone (ECF No. 268-1, at 1-2), he


        1
       Notice of the preliminary order of forfeiture is provided
after conviction or a guilty plea, at which time third parties
may file a petition under Section 853(n) asserting their claims
to the property. See 21 U.S.C. § 853(n); Fed.R.Crim.P. 32.2(c).
On January 8, 2014, the Government provided direct notice to the
three claimants here. (See ECF No. 272-3).
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does not include any information to show his interest in the

Dell inspiron laptop; the remaining documents he includes are

bank statements reflecting deposits and withdrawals.

II.    Analysis

       In a criminal forfeiture action, the property is subject to

forfeiture pursuant to 21 U.S.C. § 853.                       Third parties may seek

to have their interest in forfeited property adjudicated under

21    U.S.C.    §     853(n).        Following        the   entry    of       an    order   of

forfeiture pursuant to Section 853, a third party asserting an

interest in forfeited property may petition the court for a

hearing to adjudicate the validity of the alleged interest in

the    property.           Section    853(n)(3)        sets      forth       what   must    be

included in the verified petition:

               The   petition  shall   be   signed  by  the
               petitioner under penalty of perjury and
               shall set forth the nature and extent of the
               petitioner’s right, title, or interest in
               the property, the time and circumstances of
               the petitioner’s acquisition of the right,
               title or interest in the property, any
               additional facts supporting the petitioner’s
               claim, and the relief sought.

21 U.S.C. § 853(n)(3).               “The hearing on the petition shall, to

the   extent     practicable         and   consistent       with    the       interests     of

justice,    be      held    within     thirty      days     of    the    filing       of    the

petition.”       Id. § 853(n)(4).           “Failure to file a petition that

satisfies       the    requirements        of     §    853(n)(3)        is    grounds       for

dismissal without a hearing.”                    United States v. Pegg, 1998 WL

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34309460 (M.D.Ga. Nov. 25, 1998); United States v. BCCI Holdings

(Luxembourg), S.A., 916 F.Supp. 31, 36 (D.D.C. 1996) (noting

that    if   a    petitioner         fails    to       allege    in    the       petition      all

elements necessary for recovery, including those necessary for

standing, the court may dismiss the petition without a hearing).

         The plain language of Section 853(n)(3) clearly requires

more than what the three claimants have alleged.                                    See, e.g.,

United States v. Kokko, No. 06-20065-CR, 2007 WL 2209260, at

(S.D.Fla.     July      30,   2007)        (“[c]onsistent          with      §   853(n)(3),      a

claimant of some interest in property must do more than state

that interest in a conclusory fashion”).                            All three claimants

aver that the forfeited currency and assets in which they assert

respective interests were obtained through previous employment.

But as the Government argues, the claimants have not provided

any additional facts supporting their claims, or any information

to explain their right, title, and interest in the forfeited

property      nor      the    time    and     circumstances           surrounding          their

acquisitions.          (ECF No. 272, at 2); United States v. Hailey, 924

F.Supp.2d 648, 658 (D.Md. 2013) (“Mrs. Hailey has not adequately

stated    the     nature      of     the    interest        that    she      claims      in    the

property.         She    claims      that     several        assets       derive      from     her

employment, but she does not specify what that employment is or

whether      it   is    connected          with       Mr.   Hailey’s      offenses        (thus,

potentially making those assets subject to forfeiture).”).                                     For

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instance, Amanda Vithidkul asserts a right to the Nikon digital

camera,    but    provides      no    facts       to    support    her      claim    to    this

property.2        Similarly,         among     other         things,     Derek      Vithidkul

submits a claim for a Dell Inspiron laptop, but does not include

any specific information to explain his interest in this asset.3

See, e.g., United States v. German, Criminal No. 04-50134-01,

2006 WL 1098896, at *2 (W.D.La. Apr. 21, 2006) (holding that

claim that the subject property was obtained through lawfully

acquired     funds      did    not    satisfy          the    filing     requirements        of

Section 853(n)(3)).           The Government contends that “the documents

submitted    by    the    claimants      are       outdated       and    irrelevant        bank

statements that do not demonstrate the cash withdrawals that

would indicate the amount of cash recovered.”                            (ECF No. 272, at

5).       Accordingly,        the    Government         avers     that      the   assertions

contained in all three petitions are insufficient to satisfy the

standing requirement of Section 853(n)(3) and that a hearing to

adjudicate        the    petitions        is       premature           at     this    point.



      2
        Presumably, Amanda Vithidkul refers to the “Coolpix
digital camera,” which is one of the items specified in the
forfeiture order.   (See ECF No. 215, at 2).  The seventy-two
(72) pages of bank records she submits as an exhibit to her
petition do not clarify her claim either to the $9,400 in
currency or the digital camera.
      3
       Although Derek Vithidkul submits a receipt for a purchase
of a Samsung Galaxy Nexus cellular phone (see ECF No. 268-1, at
1-2), he does not include any documentation to suggest his
interest in the Dell laptop.
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Alternatively, the Government requests that it be permitted to

serve the claimants with appropriate discovery.

       Fed.R.Crim.P. 32.2(c)(1)(B) allows the court to permit the

parties     to     conduct    discovery        in    accordance       with    the     Federal

Rules of Civil Procedure before conducting a hearing on the

petition “if the court determines that discovery is necessary or

desirable to resolve factual issues.”                        Each claimant’s petition

is devoid of factual details as to how they obtained possession

of the respective currency and the seized assets, the person(s)

from whom they received the currency and assets, the place of

the    receipt,         and   description           of   the     transaction(s)         which

generated the currency or assets in which they assert property

interests.         See, e.g., United states v. $134,750 U.S. Currency,

No. RWT 09cv1513, 2010 WL 1741359, at *3 (D.Md. Apr. 28, 2010)

(finding claimant’s response that “[t]he assets were taken out

of    my    bank    accounts      by    IRS”        insufficient).           Although      the

Government seeks to strike all three claims for lack of standing

or,    in    the    alternative,        to     permit        discovery,       first,       each

claimant will be directed to file amended petitions.                                As Judge

Quarles reasoned in Hailey, 924 F.Supp.2d at 658, “[a]mendment

[of the petition] will simplify the Court’s inquiry at a hearing

and will provide clearer guidance for what discovery is needed.”

Accordingly,        Chooi       Wan    Kong,        Amanda     Vithidkul,       and     Derek

Vithidkul        will    have    twenty-one          (21)      days   to     file     amended

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petitions to explain fully the source of the funds sought and

state their interest in each asset in which they claim property

interest,    including   any    other    details    necessary       to     meet   the

standards of 21 U.S.C. § 853.                If the claimants file amended

petitions,   the    Government    may    thereafter       file    any    authorized

motion   within    ten   (10)    days    and     inform    the     court    whether

discovery    is    necessary    before       conducting    a     hearing    on    the

petitions.

III. Conclusion

     For the foregoing reasons, the Government’s motion will be

granted in part.     A separate order will follow.



                                              /s/
                                    DEBORAH K. CHASANOW
                                    United States District Judge




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